             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 1 of 13




 1 JOHN D. CLINE (CA State Bar No. 237759)
   50 California Street, Suite 1500
 2 San Francisco, CA 94111
   Telephone: (415) 662-2260 │Facsimile: (415) 662-2263
 3
   Email: cline@johndclinelaw.com
 4
   KEVIN M. DOWNEY (Admitted Pro Hac Vice)
 5 LANCE A. WADE (Admitted Pro Hac Vice)
   AMY MASON SAHARIA (Admitted Pro Hac Vice)
 6 KATHERINE TREFZ (CA State Bar No. 262770)
   WILLIAMS & CONNOLLY LLP
 7
   725 Twelfth Street, NW
 8 Washington, DC 20005
   Telephone: (202) 434-5000 │Facsimile: (202) 434-5029
 9 Email: KDowney@wc.com; LWade@wc.com; ASaharia@wc.com; KTrefz@wc.com
10 Attorneys for Defendant ELIZABETH A. HOLMES

11

12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN JOSE DIVISION

16
     UNITED STATES OF AMERICA,              )   Case No. CR-18-00258-EJD
17                                          )
            Plaintiff,                      )   MS. HOLMES’ MOTION IN LIMINE TO
18                                          )   EXCLUDE BAD ACTS AND FALSE OR
       v.
                                            )   MISLEADING STATEMENTS OF THERANOS
19                                          )   AGENTS AND EMPLOYEES
     ELIZABETH HOLMES and
20   RAMESH “SUNNY” BALWANI,                )
                                            )   Date: January 22, 2021
21          Defendants.                     )   Time: 10:00 AM
                                            )   CTRM: 4, 5th Floor
22                                          )
                                            )
23                                          )   Hon. Edward J. Davila
24                                          )
                                            )
25                                          )

26
27
   MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
28 AGENTS AND EMPLOYEES
   CR-18-00258 EJD


30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 2 of 13




 1        MOTION TO EXCLUDE BAD ACTS AND FALSE OR MISLEADING STATEMENTS
                        OF THERANOS AGENTS AND EMPLOYEES
 2
            PLEASE TAKE NOTICE that on January 22, 2021, at 10:00 a.m., or on such other date and time
 3
     as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,
 4
     CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby does
 5
     respectfully move in limine to exclude the alleged bad acts and false or misleading statements of
 6
     Theranos agents and employees. Ms. Holmes makes this motion pursuant to Federal Rules of Evidence
 7
     104, 402, 403, and 404(b). The Motion is based on the below Memorandum of Points and Authorities,
 8
     the exhibits and declarations that accompany this motion, the record in this case, and any other matters
 9
     that the Court deems appropriate.
10

11
     DATED: November 20, 2020
12

13
                                                          /s/ Amy Mason Saharia
14                                                        KEVIN DOWNEY
                                                          LANCE WADE
15                                                        AMY MASON SAHARIA
16                                                        KATHERINE TREFZ
                                                          Attorneys for Elizabeth Holmes
17

18

19

20

21

22

23

24

25

26
27

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                       i
30
                  Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 3 of 13




 1                                                            TABLE OF CONTENTS

 2                                                                                                                                                    Page

 3 MEMORANDUM OF POINTS AND AUTHORITIES .............................................................................1

 4
      BACKGROUND .........................................................................................................................................1
 5

 6 ARGUMENT ...............................................................................................................................................5

 7
                I.         The Government Fails to Connect These Allegations to Ms. Holmes ................................5
 8              II.        Rule 403 Bars This Evidence ...............................................................................................7
 9
      CONCLUSION ............................................................................................................................................8
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      ii
30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 4 of 13




 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Elizabeth Holmes moves, pursuant to Federal Rules of Evidence 104, 402, 403, and

 3 404, to exclude alleged bad acts and false or misleading statements of Theranos agents and employees

 4 that lack the requisite connection to Ms. Holmes.1 Throughout these proceedings, the government has

 5 repeatedly suggested that it will argue that Ms. Holmes is vicariously liable for the actions and

 6 statements of Theranos employees. But corporate executives generally do not face individual criminal

 7 liability for the actions and statements of a corporation’s agents or employees, and that principle holds

 8 equally true in this case. Any bad acts or false or misleading statements of Theranos employees that

 9 lack the requisite connection to Ms. Holmes are irrelevant and unfairly prejudicial, will confuse the jury,
10 and will function as inadmissible bad acts evidence.

11                                              BACKGROUND

12          Following this Court’s February 11, 2020 Order on Defendants’ motion to dismiss, this case has

13 centered on allegations that Ms. Holmes knowingly engaged in a scheme to defraud two groups of

14 people: (1) Theranos investors and (2) patients who paid out of pocket for Theranos blood testing. Each

15 of these allegations requires the government to prove “(1) the existence of a scheme to defraud; (2) the

16 use of wire, radio, or television to further the scheme; and (3) a specific intent to defraud.” United

17 States v. Jinian, 725 F.3d 954, 960 (9th Cir. 2013).

18          The government’s pleadings and productions have repeatedly signaled that it intends to prove its

19 allegations against Ms. Holmes, at least in part, through the statements and actions of other individuals

20 affiliated with Theranos. The Third Superseding Indictment (“TSI”) alleges that Ms. Holmes and Mr.

21 Balwani “engaged in a scheme, plan, and artifice to defraud investors” “through their company,

22 Theranos.” TSI, ECF No. 469 ¶ 11 (emphasis added). The government’s Bill of Particulars made the

23 government’s intention even clearer: it alleges that Ms. Holmes, “primarily through Theranos

24

25
     1
     This motion does not apply to the statements or actions of the alleged co-conspirators or accomplices
26 identified in the government’s Third Superseding Indictment and Bill of Particulars. Ms. Holmes
   reserves her right, however, to challenge the admission of such statements or actions on alternative
27 grounds as appropriate.

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      1
30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 5 of 13




 1 representatives, . . . directed false and misleading statements to individual doctors and patients . . . by

 2 giving Theranos representatives general and specific direction to promote the validity, accuracy, and

 3 other supposed benefits of Theranos’s tests, to emphasize Theranos’s fingerstick method of drawing

 4 blood, and to conceal any shortcomings of Theranos’s technology or malfunctions of its devices.”

 5 Sealed Bill of Particulars at 21, ECF No. 377. Any number of Theranos representatives communicated

 6 with doctors and patients—some, such as Theranos’ dozen or so sales representatives, reported to other

 7 employees who in turn reported to others, several layers removed from Ms. Holmes. In fact, Ms.

 8 Holmes was not in the chain of command with respect to Theranos’ sales representatives. Ms. Holmes

 9 did not supervise, direct, or train Theranos’ sales representatives, was not present in their interactions
10 with doctors or patients, and had little if any knowledge of the actual content of conversations between

11 them and doctors and patients.

12          The government’s interview memoranda show that the government has investigated acts and

13 statements by Theranos representatives that lack any connection to Ms. Holmes. As just one example,

14 the government has inquired about representations, made by unidentified Theranos sales representatives

15 to medical professionals, that the FDA had cleared Theranos’ devices. The government has suggested

16 that it views these alleged representations as relevant to the case against Ms. Holmes. Gov’t Opp’n to

17 Def.’s Mot. to Dismiss for Lack of Notice at 9-10, ECF No. 265. The government has pursued this and

18 other similar lines of inquiry, even where there is no reason to believe Ms. Holmes directed, encouraged,

19 or even had reason to anticipate these employees’ act or statements. Indeed, the Indictment alleges that

20 Ms. Holmes made false statements that Theranos did not need FDA approval for its devices, see TSI ¶

21 12(F), ECF No. 469—not that FDA approval had been obtained.

22          It appears that the government intends to pursue its theory of criminal vicarious liability in the

23 Rule 404(b) context. The government’s original Rule 404(b) notice described acts by Theranos

24 “agents,” “representatives,” and “others.” Ex. 1 (Mar. 6, 2020 Rule 404(b) Notice), ¶¶ 2, 6, 10, 11, 12,

25 13, 14, 15, 16, 17, 18, 19, 20. The government’s Rule 404(b) notice goes so far as to describe Theranos

26 employees as Ms. Holmes’ “agents.” See, e.g., id. at 5. That allegation is false; Theranos employees
27 were agents of Theranos, not of Ms. Holmes.

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      2
30
                Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 6 of 13




 1          During the July 20, 2020, motion hearing, this Court expressed skepticism about the

 2 government’s vague references to Theranos agents and employees in its Rule 404(b) notice: “the acts

 3 referring to Theranos and their agents or representatives . . . seems like that was a little broad as to who

 4 is Theranos, who are the agents, who are the representatives, and how did those persons or individuals or

 5 whoever or whatever they are, how does that impact Ms. Holmes.” 7/20/20 Tr. 25:20-26:5.

 6 Nevertheless, the government stuck to this “broad” approach in its supplemental Rule 404(b) notice

 7 served on September 28, 2020. The following are some of the most glaring examples:

 8               The government identifies the experiences of seven patients as evidence that
 9                Ms. Holmes knew Theranos was unable to provide accurate and reliable test
                  results,” but it does not identify any evidence that Ms. Holmes was ever
10
                  informed about three of these patients’ experiences. Ex. 3 at 5-6 (Sept. 28, 2020
11
                  Rule 404(b) Notice). For example, with respect to R.G., the government claims
12
                  only that “[n]umerous employees reporting to Holmes and Balwani became
13                aware of the test.” Id. at 6.
14
                 The government again alleges that “Defendants and their agents made
15                statements directly to doctors in connection with Theranos’s tests and specific
16                results.” Ex. 3 at 12-15 (emphasis added). This portion of the supplemental
17                404(b) disclosure identifies numerous statements by unidentified “Theranos

18                representatives” that the government intends to introduce. Illustrative examples
                  include the following: id. at 12 (“A Theranos representative told Dr. Jessica
19
                  Bramstedt that Theranos would conduct micro-testing on blood samples drawn
20
                  from the fingertip; that Theranos was equivalent to other major labs like
21                LabCorp and Sonora Quest, and that when Theranos lost its lab license, it was
22                merely a “slap on the wrist” that would have a temporary effect on the
23                company.”); id. (“Theranos representative Kimberly Alfonzo told Dr. Gerald

24                Asin that Theranos could do all blood tests with a fingerstick draw . . .”); id. (“A
                  Theranos sales representative told Dr. Nathan Matthews that Theranos’s testing
25
                  was accurate . . .”); id. at 13 (“Theranos representatives told Dr. Steve Linnerson
26
                  that the company’s device was FDA-approved and that it had met all the national
27
                  laboratory standards . . .”); id. at 14 (“Results from each of these types of HbA1c
28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      3
30
            Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 7 of 13




 1            tests were provided to doctors without explanation as to the types of analyzers

 2            used to conduct the assays, creating a situation where doctors did not have the
              information they needed to place the results in context.”).
 3

 4           The government makes various allegations related to Theranos’ process for
              setting reference ranges that have no connection to Ms. Holmes (or Mr.
 5
              Balwani). Id. at 71.
 6
             The government alleges that “[w]hen Theranos obtained critical test results for
 7
              chloride, it conducted a redraw and/or rerun rather than reporting the critical
 8
              value,” with no connection to Ms. Holmes. Id. at 73.
 9
             According to the government, “Results from . . . HbA1c tests were provided to
10
              doctors without explanation as to the types of analyzers used to conduct the
11
              assays, creating a situation where doctors did not have the information they
12            needed to place the results in context. This was especially problematic in
13            situations where a single patient had multiple Theranos assays conducted using
14            different methods, yielding different results that falsely suggested to the doctor

15            that the patient’s analyte values had changed. This was the case with a patient
              treated by Dr. Phelan, who was the subject of internal emails at Theranos.” The
16
              government does not tie this allegation to Ms. Holmes.
17
             The government asserts, in inflammatory language, that Theranos “senior
18
              managers” destroyed Theranos’ database of patient data in 2018. Id. at 79-80.
19
              According to the government, Theranos produced the database to the
20            government but failed to provide a password needed to access the database;
21            Theranos employees and consultants then dissembled the hardware that housed
22            the database.   Id.    The government claims that these actions “place the

23            government’s evidence in context as part of a larger fraud scheme, one which
              Theranos was attempting to hide and conceal even after the indictment in this
24
              case.” Id. at 81. The government does not tie these wild accusations to Ms.
25
              Holmes, nor could it, as Ms. Holmes had not been part of company management
26
              for several months and had no involvement in responding to these requests.
27

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      4
30
                Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 8 of 13




 1               The government alleges that acts by David Boies, a lawyer for Theranos and
 2                Ms. Holmes, and by Theranos’ then-General Counsel Heather King are
                  evidence of Ms. Holmes’ mental state. Specifically, it alleges that “[o]n or
 3
                  about September 8, 2015, David Boies, at Theranos’s direction, wrote to the
 4
                  Editor-in-Chief of Dow Jones [which publishes the Wall Street Journal] in an
 5
                  attempt to quash [journalist John] Carreyrou’s pending story” on Theranos. Id.
 6                at 60. The government further alleges that “[o]n or about October 8, 2015,
 7                Boies and Heather King (Theranos’s General Counsel) spoke to the Dow Jones’
 8                Editor-in-Chief and others in an attempt to quash Carreyrou’s pending story.”

 9                Id. The government makes no allegation about Ms. Holmes’ role in these
                  actions.
10

11          These examples illustrate the government’s repeated failure to connect its sensational allegations

12 to any knowledge or conduct on Ms. Holmes part. This evidence is irrelevant and highly prejudicial and

13 should be excluded.

14                                                 ARGUMENT

15 I.       The Government Fails to Connect These Allegations to Ms. Holmes

16          This Court should exclude the alleged bad acts and false or misleading statements of Theranos

17 agents that lack the requisite connection to Ms. Holmes. That “guilt” is an “individual and personal”

18 matter, Kotteakos v. United States, 328 U.S. 750, 772 (1946), “is one of the most fundamental principles

19 of our jurisprudence[,]” Bridges v. Wixon, 326 U.S. 135, 163 (1945) (Murphy, J., concurring). This

20 doctrine of “personal guilt . . . prevents the persecution of the innocent for the beliefs and actions of

21 others.” Id. In other words, “[v]icarious liability . . . has no place in the criminal law as our Rules of

22 Evidence recognize.” United States v. Cadden, 2018 WL 2108243, at *6 (D. Mass. May 7, 2018); see

23 also Lady J. Lingerie, Inc. v. City of Jacksonville, 176 F.3d 1358, 1367 (11th Cir. 1999) (“[D]ue process

24 prohibits the state from imprisoning a person without proof of some form of personal blameworthiness

25 more than [an agency relationship].”). This principle is particularly salient in the context of wire fraud,

26 because “the crime of wire fraud requires the specific intent to utilize deception to deprive the victim of
27 money or property.” United States v. Miller, 953 F.3d 1095, 1099 (9th Cir. 2020); see also United

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      5
30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 9 of 13




 1 States v. Rank, 805 F.2d 1037, 1986 WL 18059, at *4 (6th Cir. 1986) (“declin[ing] to adopt the

 2 government’s theory, akin to a respondeat superior basis for criminal liability” for a president and CEO

 3 of a company in a mail fraud case).

 4          Thus, as a general rule, a defendant is liable only for her own actions, including her own actions

 5 in directing others to commit wire fraud. See United States v. Holmes, 2020 WL 666563, at *20 (N.D.

 6 Cal. Feb. 11, 2020) (citing United States v. Ciccone, 219 F.3d 1078, 1084 (9th Cir. 2000)) (recognizing

 7 that a defendant need not make the false or misleading wire transmission himself where he “directs”

 8 employees to make false or misleading statements and acts with “intent to defraud the alleged victims”).

 9 A defendant may be liable for another’s actions in only limited circumstances. See generally Charles
10 Doyle, Congressional Research Service, Corporate Criminal Liability: An Overview of Federal Law at 5

11 (2013) (describing “three situations in which corporate officials and employees may face criminal

12 liability under federal law even though they themselves did not commit, and perhaps did not even know

13 of, the misconduct of other officers or employees”). The only two circumstances that could theoretically

14 apply in this case are conspiracy (or coschemer) liability and complicity. Id. at 5-7.2 Conspiracy

15 liability makes a defendant liable for the reasonably foreseeable actions of fellow co-conspirators in

16 furtherance of a given conspiracy, while accomplice liability makes a defendant liable for another’s

17 actions if the defendant aided or abetted that individual in committing a crime and knew its full scope in

18 advance. United States v. Tarallo, 380 F.3d 1174, 1184 (9th Cir. 2004), amended, 413 F.3d 928 (9th

19 Cir. 2005); Rosemond v. United States, 572 U.S. 65, 76-77 (2014) (discussing accomplice liability

20 principles). The government cannot convict Ms. Holmes for the statements or acts of anyone other than

21 Ms. Holmes or one of her supposed accomplices or coconspirators.3

22

23
    The third exception, not relevant to this case, arises under the “‘responsible corporate official’
     2
24
   doctrine.” Charles Doyle, Cong. Research Serv., Corporate Criminal Liability: An Overview of Federal
25 Law 7 (2013). This doctrine acknowledges that, in certain “regulatory schemes[,]” Congress has
   dispensed with “the conventional requirement of criminal conduct—awareness for some wrongdoing.”
26 Id. Wire fraud, which requires the specific intent to defraud, is not such an offense.
     3
27  To date, the government has disclosed only four alleged co-conspirators, one of whom is Mr. Balwani.
   See Sealed Bill of Particulars at 26, ECF No. 377.
28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                                      6
30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 10 of 13




 1          For these reasons, evidence of acts or statements by unconnected Theranos employees is

 2 irrelevant. Take, for example, the statement by a Theranos sales representative about FDA clearance

 3 discussed earlier. The government has identified no evidence suggesting that Ms. Holmes conspired

 4 with this representative, assisted this representative, or directed this representative to make this

 5 statement. Because the law does not hold Ms. Holmes vicariously liable for the actions or false or

 6 misleading statements of agents or employees of Theranos, their alleged bad acts or statements are not

 7 “of consequence” to the claims and defenses presented here. See Fed. R. Evid. 401(b); Cadden, 2018

 8 WL 2108243, at *1, 6 (excluding evidence of patient deaths in mail fraud racketeering trial of low and

 9 mid-level employees “not alleged to have had any role in the preparation of the tainted drugs”).
10 II.      Rule 403 Bars This Evidence

11          Even if such evidence had some tangential probative value, the combined prejudice, confusion,

12 and time lost in mini-trials resulting from admitting similar acts or statements would together

13 substantially outweigh that limited probative value. See Fed. R. Evid. 403. Few things in this case

14 could cause more prejudice to Ms. Holmes than the government’s wrongful attempt to attribute acts and

15 statements of others to Ms. Holmes, which risks a finding of guilt by association with bad acts or false

16 statements of others. See United States v. Fitzgerald, 2007 WL 1704943, at *1-2 (S.D. Cal. June 11,

17 2007) (granting new trial where government introduced evidence of bad acts by others against

18 defendant), aff’d, 279 F. App’x 444, 445 (9th Cir. 2008) (affirming because there was “no direct link to

19 the crime with which [the defendant] was charged”); United States v. Dunn, 640 F.2d 987, 989 (9th Cir.

20 1981) (vacating conviction based on government’s impeachment of witness through “the crimes of her

21 brother”). And “[g]uilt by association is just what Fed. R. Evid. 403 was intended to exclude.” United

22 States v. Wassner, 141 F.R.D. 399, 405 (S.D.N.Y. 1992). Finally, if the government were permitted to

23 introduce evidence of acts or statements of individual Theranos employees, the parties would inevitably

24 end up conducting mini-trials before the jury regarding each act or statement by other persons, the

25 reasons for those acts and statements, and whether the requisite connection to Ms. Holmes exists for

26 each such act or statement. This trial will be long enough without these evidentiary discursions into the
27 acts of Theranos employees, and such mini-trials will further confuse jurors.

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      7
30
             Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 11 of 13




 1          For all these reasons, the Court should exclude evidence of any alleged bad acts or false or

 2 misleading statements by Theranos employees (not alleged to be co-conspirators or accomplices) that

 3 lack the requisite connection to Ms. Holmes. The defense cannot reasonably anticipate in advance all

 4 such evidence that the government will attempt to introduce. It is crystal clear, however, that the

 5 government does intend to introduce such evidence and to argue that Ms. Holmes is “on the hook” for

 6 such acts or statements. See Feb. 10, 2020 Mot. Hr’g Tr. at 66:23-67:4. The Court thus should exclude

 7 all such evidence and argument and require the government to proffer in advance the evidence that it

 8 believes will connect each such statement or act to Ms. Holmes. See Fed. R. Evid. 104(b) (“When the

 9 relevance of evidence depends on whether a fact exists, proof must be introduced sufficient to support a
10 finding that the fact does exist.”); Huddleston v. United States, 485 U.S. 681, 690 (1988) (explaining

11 that this requires evidence sufficient for a jury to find the predicate fact by a “preponderance of the

12 evidence”); United States v. Evans, 728 F.3d 953, 957 (9th Cir. 2013) (describing a Rule 104 pretrial

13 hearing for such a purpose in the proceedings below); Fed. R. Evid. 104(c) (authorizing such a hearing).4

14 This approach will “insure[] that the jury will not be tainted by hearing prejudicial evidence—or

15 learning of its existence—until the [government] has demonstrated that it will be able to provide an

16 adequate foundation for admission.” United States v. Branch, 970 F.2d 1368, 1371 (4th Cir. 1992).

17                                               CONCLUSION

18          For the foregoing reasons, Ms. Holmes respectfully requests an order precluding the government

19 from introducing evidence of bad acts or false or misleading statements of Theranos agents or

20 employees other than her alleged co-conspirators and alleged accomplices. At the very least, the

21

22
     4
23     For much the same reasons, the government cannot introduce these bad acts or statements of others
     under Rule 404(b). Again, it would have to provide “‘sufficient evidence to support a finding by the
24   jury that the defendant committed the similar act.’” United States v. Bailey, 696 F.3d 794, 799 (9th Cir.
     2012) (emphasis added) (quoting Huddleston v. United States, 485 U.S. 681, 685 (1988)). This means
25   that it would have to introduce sufficient evidence for a jury to establish Ms. Holmes’ liability before
26   attributing them to her for the purposes permitted under Rule 404(b). See United States v. Heath, 188
     F.3d 916, 922-23 (7th Cir. 1999) (finding insufficient evidence for Rule 404(b) purposes because the
27   government failed to establish that the defendant had aided and abetted the one committing the prior bad
     acts).
28   MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
     AGENTS AND EMPLOYEES
     CR-18-00258 EJD
                                                          8
30
            Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 12 of 13




 1 admission of such evidence should depend on a sufficient pretrial showing pursuant to Federal Rule of

 2 Evidence 104.

 3

 4 DATED: November 20, 2020                            Respectfully submitted,

 5

 6                                                     /s/ Amy Mason Saharia
                                                       KEVIN DOWNEY
 7                                                     LANCE WADE
                                                       AMY MASON SAHARIA
 8                                                     KATHERINE TREFZ
                                                       Attorneys for Elizabeth Holmes
 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28 MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
   AGENTS AND EMPLOYEES
   CR-18-00258 EJD
                                      9
30
           Case 5:18-cr-00258-EJD Document 565 Filed 11/20/20 Page 13 of 13




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 20, 2020 a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5
                                                       /s/ Amy Mason Saharia
 6                                                     AMY MASON SAHARIA
                                                       Attorney for Elizabeth Holmes
 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
     MS. HOLMES’ MOTION TO EXCLUDE BAD ACTS AND STATEMENTS OF THERANOS’
     AGENTS AND EMPLOYEES
     CR-18-00258 EJD
30
